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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,                                 :
                                                           :     Case No.: 24-cr-542 (AS)
                    v.                                     :
                                                           :
 SEAN COMBS,                                               :    NOTICE OF NON-PARTY
                                                           :            ’S MOTION TO QUASH
                                   Defendant.              :    SUBPOENA DUCES TECUM
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        PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law, non-

party                                          , by and through her undersigned counsel, respectfully

seeks an Order from this Court at 40 Foley Square, New York, NY 10007, to quash the non-party

subpoena served by Defendant Sean Combs pursuant to Federal Rule of Criminal Procedure 17.

Dated: April 2, 2025
       New York, New York                                      Respectfully submitted,

                                                               WIGDOR LLP


                                                               By: _____________________________
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